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             9
           10                      UNITED STATES DISTRICT COURT
           11                   SOUTHERN DISTRICT OF CALIFORNIA
           12
           13 TIFFANY DEHEN,                         Case No. 3:17-cv-00198-LAB-WVG
           14             Plaintiff,                 SUPPLEMENTAL
                                                     MEMORANDUM OF POINTS AND
           15       v.                               AUTHORITIES PURSUANT TO
                                                     COURT’S JULY 30, 2018 ORDER
           16 JOHN DOE; TWITTER, INC.;
              UNIVERSITY OF SAN DIEGO; and
           17 PERKINS COIE LLP,                      Judge:         Larry Alan Burns
                                                     Courtroom:     14A
           18             Defendants.                Mag.           Judge William V. Gallo
                                                     Courtroom:     Suite 2125
           19                                        Trial Date:    Not Set
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  PAUL, PLEVIN,
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                                                                   Case No. 3:17-cv-00198-LAB-WVG
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             1                                      I. INTRODUCTION
             2            USD submits this supplemental memorandum in response to the Court’s order
             3 concerning whether it should exercise supplemental jurisdiction over Plaintiff
             4 Tiffany Dehen’s state law claims. USD requests the Court exercise supplemental
             5 jurisdiction and dismiss all of the claims against USD without leave to amend.1
             6                               II. APPLICABLE STANDARD
             7            The Court “shall have supplemental jurisdiction over all other claims that are
             8 so related to claims in the action within such original jurisdiction that they form part
             9 of the same case or controversy.” 28 U.S.C. § 1367(a). In its discretion, the Court
           10 may decline supplemental jurisdiction if: (i) the state claim raises a novel or
           11 complex issue, (ii) the state claim “substantially predominates” over the federal
           12 claim, (iii) the Court has dismissed all claims over which it has original jurisdiction,
           13 or (iv) there are other compelling reasons. 28 U.S.C. § 1367(c)(1)-(4).
           14             Importantly, once the Court is satisfied that it has original jurisdiction, “the
           15 [C]ourt is not required to make a § 1367(c) analysis unless asked to do so. . . .” See
           16 Acri v. Varian Associates, Inc., 114 F.3d 999, 1000 (9th Cir. 1997) (“That state law
           17 claims ‘should’ be dismissed if federal claims are dismissed before trial . . . has
           18 never meant that they must be dismissed.”), citing United Mine Workers of Am. v.
           19 Gibbs, 383 U.S. 715 (1966). In this eighteen-month lawsuit, the Court should
           20 exercise supplemental jurisdiction to promote “judicial economy, convenience and
           21 fairness to litigants.” Gibbs, 383 U.S. at 726 (1966).
           22         III. THE CLAIMS ARISE FROM THE SAME CASE OR CONTROVERSY
           23             Plaintiff’s state law claims against USD include breach of contract,
           24 intentional and negligent infliction of emotional distress (“IIED” and “NIED”). The
           25 copyright claim concerns John Doe’s use of Plaintiff’s copyrighted works to parody
           26 Plaintiff. See, e.g., Doc. No. 55 at ¶¶ 184-200. The Court has original jurisdiction
           27
           28     1
                      USD moved to dismiss based on Rule 12(b)(6) and Rule 41. Doc. No. 57.
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             1 over the copyright claim against John Doe. 28 U.S.C. § 1367(c)(3).
             2         Plaintiff recognizes that supplemental jurisdiction is appropriate because
             3 “each claim is so related to the federal claim in the action . . . that they form part of
             4 the same case or controversy. . . .” Doc. No. 55 at ¶ 10. As to USD, Plaintiff pleads
             5 that “two individuals from USD Law School viewed Ms. Dehen’s LinkedIn profile
             6 in the immediate days leading up to the creation and execution of the unlawful
             7 Twitter account,” and she divines some connection between the LinkedIn viewing
             8 and John Doe’s Twitter activity that is the gravamen of her SAC. Id. ¶ 30.
             9         In the contract and IIED/NIED claims, Plaintiff specifically pleads that USD
           10 breached alleged duties to her by purportedly failing to provide a safe campus, and
           11 by John Doe’s “despicable conduct.” Doc. No. 55 at ¶¶ 316, 319-20. This
           12 “despicable conduct” includes John Doe’s Twitter activity. Id. 64:22-65:2.
           13          Accordingly, the copyright claim arises from the same case or controversy as
           14 the state law claims against USD under Section 1367(a), and supplemental
           15 jurisdiction is appropriate. See, e.g., Joude v. WordPress Foundation, No. C 14-
           16 01656 LB, 2014 WL 3107441, at *4 (N.D. Cal. July 3, 2014) (likeness
           17 misappropriation in a parody blog dispute); Times Media Private Ltd. v. “Ville De
           18 Mimosa,” No. CV 02-09509 CAS, 2004 WL 1950373, at *4 (C.D. Cal. March 3,
           19 2004) (negligence and contract claims).
           20      IV. THERE ARE NO NOVEL OR COMPLEX ISSUES OF STATE LAW
           21          In addition, the contract, IIED and NIED claims are not pled with any
           22 particular complexity that would warrant a state court’s expertise. These are
           23 garden-variety claims. See Byanooni v. City of Los Angeles, No. CV 05-00181
           24 MMM (VBKx), 2005 WL 8154932, at *24 (supplemental jurisdiction appropriate
           25 where claims were not novel or complex). Certainly this Court is well-equipped to
           26 adjudicate them.
           27     V. THE STATE LAW CLAIMS AGAINST USD DO NOT PREDOMINATE
           28          Next, the state law claims against USD do not predominate over the copyright
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             1 claim. See Alexsam, Inc. v. Green Dot Corp., No. 2:15-cv-05742-CAS (PLAx),
             2 2015 WL 6250917, at *4-5 (C.D. Cal. Sept. 28, 2015) (contract claim did not
             3 predominate in a patent dispute). Indeed, USD has been named a Defendant in only
             4 four out of the 17 causes of action in the SAC. Doc. No. 55. The copyright claim is
             5 the most central allegation in Plaintiff’s lawsuit. Plaintiff pleads numerous Twitter
             6 entries from the parody account (Doc. No. 55 at ¶¶ 93-116, 123, Exhs. 9-56) to
             7 support her assertion that John Doe’s parody caused her harm. Accordingly, the
             8 state law claims do not predominate, and this is not a basis to decline jurisdiction.
             9        VI. SUPPLEMENTAL JURISDICTION PROMOTES ECONOMY
           10         Finally, USD has participated in this case for eighteen months. Two
           11 experienced federal jurists have tried to make sense of Plaintiff’s pleadings and
           12 Defendants have authored multiple motions. To send USD back to state court to
           13 fight these same deficient allegations is a waste of judicial resources. Exercising
           14 supplemental jurisdiction will promote judicial economy. See Gibbs, 383 U.S. at
           15 726; Fantastic Sams Salons Corp. v. Moassesfar, No. 2:14-cv-06727-ODW(PJWx),
           16 2016 WL 7197921, at *1 (C.D. Cal. June 9, 2016) (“effort and expense by the
           17 parties would go to waste if the Court dismissed the claim and forced Plaintiff to
           18 start all over again”); Alexsam, Inc., 2015 WL 6250917, at *4 (court is “familiar
           19 with the case’s facts,” and keeping the claims “avoids causing a state court to
           20 expend time and effort acquiring equal fluency”).
           21                                   VII. CONCLUSION
           22         Supplemental jurisdiction is appropriate. USD respectfully requests that the
           23 Court dismiss all of Plaintiff’s claims against USD without leave to amend.
           24 Dated: August 20, 2018                PAUL, PLEVIN, SULLIVAN &
                                                    CONNAUGHTON LLP
           25
           26                                       By:
                                                          MICHAEL C. SULLIVAN
           27                                             JOANNE ALNAJJAR BUSER
           28                                             AMR A. SHABAIK
  PAUL, PLEVIN,
   SULLIVAN &                                              3                Case No. 3:17-cv-00198-LAB-WVG
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             1                               PROOF OF SERVICE
             2                            Dehen v. USD, Twitter, et al.
                  U.S.D.C., Southern District of California, Case No. 3:17-CV-00198-LAB-WVG
             3
                  STATE OF CALIFORNIA, COUNTY OF SAN DIEGO
             4
                    At the time of service, I was over 18 years of age and not a party to this
            5 action. I am employed in the County of San Diego, State of California. My
              business address is 101 West Broadway, Ninth Floor, San Diego, CA 92101-8285.
            6
                    On August 20, 2018, I served true copies of the following document(s)
            7 described  as SUPPLEMENTAL MEMORANDUM OF POINTS AND
              AUTHORITIES on the interested parties in this action as follows:
            8
                    Tiffany L. Dehen
            9       1804 Garnet Avenue, #239
                    Pacific Beach, CA 92109
           10       Telephone: (858) 262-0052
                    E-Mail:
           11               tiffany.dehen@gmail.com
           12          Plaintiff Pro Per
           13        BY OVERNIGHT DELIVERY: I enclosed said document(s) in an
              envelope or package provided by the overnight service carrier and addressed to the
           14 persons at the addresses listed in the Service List. I placed the envelope or package
              for collection and overnight delivery at an office or a regularly utilized drop box of
           15 the overnight service carrier or delivered such document(s) to a courier or driver
              authorized by the overnight service carrier to receive documents.
           16
                     I declare under penalty of perjury under the laws of the United States of
           17 America that the foregoing is true and correct and that I am employed in the office
              of a member of the bar of this Court at whose direction the service was made.
           18
                     Executed on August 20, 2018, at San Diego, California.
           19
           20
           21
                                                          Amy R. Dickey
           22
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   SULLIVAN &
                                                                          Case No. 3:17-cv-00198-LAB-WVG
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             1                               PROOF OF SERVICE
             2                            Dehen v. USD, Twitter, et al.
                  U.S.D.C., Southern District of California, Case No. 3:17-CV-00198-LAB-WVG
             3
                  STATE OF CALIFORNIA, COUNTY OF SAN DIEGO
             4
                    At the time of service, I was over 18 years of age and not a party to this
            5 action. I am employed in the County of San Diego, State of California. My
              business address is 101 West Broadway, Ninth Floor, San Diego, CA 92101-8285.
            6
                    On August 20, 2018, I served true copies of the following document(s)
            7 described  as SUPPLEMENTAL MEMORANDUM OF POINTS AND
              AUTHORITIES on the interested parties in this action as follows:
            8
                    Julie E. Schwartz                        James Grant Snell
            9       Perkins Coie LLP                         Perkins Coie LLP
                    3150 Porter Drive                        3150 Porter Drive
           10       Palo Alto, CA 94304                      Palo Alto, CA 94304
                    Telephone: (650) 838-4490                Telephone: (650) 838-4367
           11       Facsimile: (650) 838-4690                E-Mail:
                    E-Mail:                                         Jsnell@perkinscoie.com
           12               JSchwartz@perkinscoie.com
                                                             Attorney for Perkins Coie LLP
           13       Attorney for Twitter, Inc.
           14        BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
              the document(s) with the Clerk of the Court by using the CM/ECF system.
           15 Participants in the case who are registered CM/ECF users will be served by the
              CM/ECF system. Participants in the case who are not registered CM/ECF users will
           16 be served by mail or by other means permitted by the court rules.
           17       I declare under penalty of perjury under the laws of the United States of
              America that the foregoing is true and correct and that I am employed in the office
           18 of a member of the bar of this Court at whose direction the service was made.
           19          Executed on August 20, 2018, at San Diego, California.
           20
           21
           22                                            Amy R. Dickey
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  PAUL, PLEVIN,
   SULLIVAN &
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